        Case 4:20-cv-01107 Document 20 Filed on 07/22/20 in TXSD Page 1 of 1


UNITED STATES DISTRICT COURT                     SOUTHERN DISTRICT OF TEXAS

                                 HOUSTON DIVISION

Betty Chenier, et al.
   Plaintiff(s),

v.                                                     Case No. 4:20−cv−01107

Union Pacific Railroad Co.
  Defendant(s).



                             NOTICE OF SETTING
                              PLEASE TAKE NOTICE

                              HEARING: Initial Conference
                                   DATE:   7/31/2020
                                   TIME:   02:30 PM
                                HAS BEEN SET BEFORE
                               JUDGE KEITH P. ELLISON
                             UNITED STATES COURTHOUSE
                              515 RUSK COURTROOM 3−A
                                HOUSTON, TEXAS 77002.


          ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
             ON THE COURT'S DIAL−IN NUMBER AT 713−250−5238.
        ENTER CONFERENCE ID: 45238, FOLLOWED BY PASSWORD: 13579.




David J. Bradley, Clerk                                             Date: July 22, 2020

By Deputy Clerk, A. Rivera
